125 F.3d 858
    NOTICE: Ninth Circuit Rule 36-3 provides that dispositions other than opinions or orders designated for publication are not precedential and should not be cited except when relevant under the doctrines of law of the case, res judicata, or collateral estoppel.Andrinki HOVSEPIAN, Petitioner,v.IMMIGRATION AND NATURALIZATION SERVICE, Respondent.
    No. 95-70433.
    United States Court of Appeals, Ninth Circuit.
    Submitted Sept. 22, 1997.**Sept. 24, 1997.
    
      On Petition for Review of an Order of the Board of Immigration Appeals.
      Before:  HALL, BRUNETTI and THOMAS, Circuit Judges.
    
    
      1
      MEMORANDUM*
    
    
      2
      In accordance with Duldulao v. INS, 90 F.3d 396 (9th Cir.1996), we dismiss this petition for lack of jurisdiction.
    
    
      3
      DISMISSED.
    
    
      
        **
         The panel unanimously finds this case suitable for decision without oral argument.  See Fed.R.App.P. 34(a);  9th Cir.R. 34-4
      
      
        *
         This disposition is not appropriate for publication and may not be cited to or by the courts of this circuit except as provided by 9th Cir.R. 36-3
      
    
    